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                              UNITED STATES DISTRICT COURT
                                DISTRICT OF CONNECTICUT

GENERAL ELECTRIC COMPANY                     )
& Subsidiaries,                              )       Case No. 3:14-cv-190-JAM
                                             )
                                             )
                 Plaintiff,                  )       Judge Jeffrey A. Meyer
                                             )
      v.                                     )
                                             )
UNITED STATES OF AMERICA,                    )
                                             )
                 Defendant.                  )

             Notice of Withdrawal of United States’ Motion to Seal (ECF No. 126)

       The United States hereby withdraws its Motion to Seal certain documents produced by

General Electric, and relied on by the United States in its Motion to Compel, because GE has

indicated that the documents at issue, despite being labeled “Confidential,” may be filed openly

on the docket.

       The United States filed a motion to compel the production of documents on March 11,

2016 (ECF No. 125). The attachments in support of that motion contained information

designated by General Electric Company and Subsidiaries (hereinafter “GE”) as Confidential.

The Standing Protective Order provides that “If it becomes necessary to file Designated Material

with the Court, a party must comply with Local Civil Rule 5 by moving to file the Designated

Material under seal.” (ECF No. 5)

       The United States complied with the Standing Protective Order and on March 11, 2016,

filed a Motion to Seal (ECF No. 126) the documents in support of its motion to compel: the

memorandum of law, declaration of Andrew A. De Mello, and exhibits thereto. Since that date,

GE has reviewed those materials and has agreed not to assert that these materials should be filed

under seal. On this basis, the United States withdraws its motion to seal. In conformity with


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Local Rule Civil 5(e)(3) and 5(e)(4)(b), the United States did not previously file openly on the

docket the materials marked as containing confidential information (memorandum of law,

declaration of Andrew A. De Mello, and exhibits in support) but will file these documents

shortly.



                                                     UNITED STATES OF AMERICA,


                                                     /s/ Andrew A. De Mello
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                              CERTIFICATE OF SERVICE

       I certify that service of the foregoing Motion to Compel has been made upon the

following by the Court’s CM/ECF system on this 18th day of March, 2016:

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                                                   /s/ Andrew A. De Mello
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